UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

)
Jack L. Sisk, et al. )

) Case No.: l:lO-cv-00006
v. ) Judge Haynes

)
H-Tech America Development III Corp., et al. )

)

ENTRY OF JUDGMENT

 

Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on July 21, 2011.

KEITH THROCKMORTON, CLERK
s/ Robbie Dail. Deputv Clerk

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